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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION


EL PASO COUNTY, TEXAS; BORDER
NETWORK FOR HUMAN RIGHTS,

                              Plaintiffs,                    Case No. EP-19-CV-66-DB

       v.

DONALD J. TRUMP, in his official capacity as
President of the United States of America, et al.,

                              Defendants.



      NOTICE OF CHANGES IN FUNDING FOR BORDER BARRIER PROJECTS
       UNDERTAKEN PURSUANT TO 10 U.S.C. § 2808 IN FISCAL YEAR 2019

       Defendants hereby provide notice of recent changes to the funding sources for the eleven

border barrier military construction projects the Secretary of Defense decided to undertake on

September 3, 2019, pursuant to 10 U.S.C. § 2808.

       To fund the § 2808 border barrier military construction projects that are the subject of

litigation in this case, the Secretary of Defense deferred $3.6 billion in military construction

projects, divided evenly between projects outside of the United States and projects located in the

United States (including U.S. territories). See ECF No. 114. The list of projects deferred at the

time of the Secretary’s decison to undertake § 2808 construction is available at ECF No. 124.

       On April 27, 2020, the Secretary of Defense authorized adjustments to the funding for the

§ 2808 projects. See Exhibit 1. To enable their execution as scheduled in calendar year 2020, the

Secretary removed 22 projects located in the United States from the deferred projects list and

directed that $545.536 million in funding for those projects be released. See id. The Secretary

also directed $545.536 million in replacement sources to ensure adequate funding remains

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available for § 2808 border barrier military construction. These substitute funds are drawn from

(1) two projects that have been cancelled for reasons not associated with border barrier military

construction; (2) the deferral of 16 projects located outside the United States that are scheduled to

award in fiscal year 2021 or later; and (3) excess planning and design funds. See id. A chart listing

the 22 projects removed from the deferral list and the substitute funding sources is attached as

Exhibit 1. See id.


Dated: April 29, 2020                             Respectfully submitted,

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                                                  /s/ Andrew I. Warden
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                                 CERTIFICATE OF SERVICE

       I certify that I electronically filed the foregoing with the clerk using the CM/ECF system,

which will send notification of such filing to all counsel of record in this matter.




                                                                  /s/ Andrew I. Warden
                                                                Andrew I. Warden




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